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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )                  4:05CR3029
          v.                        )
                                    )
BOBBIE D. DORMAN,                   )
                                    )                     ORDER
                Defendant.          )
                                    )



     IT IS ORDERED:

     1. Defendant’s unopposed oral motion to continue is granted
and the plea hearing is continued to August 15, 2005 at 2:30 p.m.
before the undersigned magistrate judge in Courtroom 2, United
States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska.

     2. For this defendant, the time between today’s date and
the hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     DATED this 31st day of May, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
